                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF SOUTH DAKOTA
                                       SOUTHERN DIVISION

 UNITED STATES OF AMERICA,                                         4:19-cr-40015
      Plaintiff,

 v.
                                                       MOTION FOR CONTINUANCE
 PAUL ERICKSON,
      Defendant.

        Defendant Paul Erickson, through his attorney of record, Clint Sargent, moves this Court

for a continuance of the October 1, 2019 Jury Trial until on or after December 1, 2019, along

with a corresponding continuance of all other dates and deadlines.

        This is a complex case. The allegations in the indictment include conduct over a 22-year

time frame from 1996 to 2018, involving multiple witnesses from dozens of states. Defense

counsel has received production of approximately 1,500 pages of discovery from the

Government. Due to the number of individuals involved, the volume of discovery, the nature of

the prosecution, and the complex questions of fact and law, counsel is unable to adequately

explore all options for resolution of this matter, prepare for pretrial proceedings or prepare for

the trial itself within the time limits set by the Court’s current scheduling order.

        The Government, through Assistant United States Attorney Jeff Clapper, advises it has no

objection to this Motion.

        Additionally, defense counsel is currently scheduled for a jury trial to commence

on October 8, 2019 in the case of United States v. Loren Brown et al., 4:17-CR-40058-

LLP. It is expected that the Brown case will be tried on October 8.
           Finally, Defendant is still addressing the issues raised in his previously filed

Defendant’s Supplemental Affidavit in Support of Postponement (Doc. 22) and would

request a continuance upon those grounds.

           For all these reasons, Defendant is requesting at least a 60-day continuance of all dates

and deadlines.

           Mr. Erickson has authorized counsel to file this Motion. Defendant’s Statement in

Support of Postponement will be filed upon receipt.

           Dated this 17th day of September 2019.

                                                          /s/ Clint Sargent
                                                          Clint Sargent
                                                          MEIERHENRY SARGENT LLP
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                                   CERTIFICATE OF SERVICE

           This is to certify that I have served a copy of the foregoing upon counsel using the ECF

filing system which will automatically send e-mail notifications of such filing to opposing

counsel, Jeff Clapper.

           Dated this 17th day of September 2019.

                                                        /s/ Clint Sargent
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